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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


AYANNA KEISHA BROWN,

                     Plaintiff,

v.                                                       No. 1:20-cv-00512-JB-KRS

EQUIFAX INFORMATION SERVICES LLC,

                     Defendant.


          ORDER GRANTING SECOND MOTION TO EXTEND DEADLINE

       This matter, having come before the Court on Defendant Equifax Information Services

LLC’s Second Motion to Extend Deadline to File Dispositional Documents, finds the motion is

well taken and should be granted. The deadline is hereby extended to September 17, 2020.


                                                  _________________________________
                                                  Honorable Kevin R. Sweazea
                                                  United States Magistrate Judge
